UNFRBPSTA ES HIS THe? EOURE Ms TRG ORME SenSlSe O8M54/ if Se 1 oes a Papi es- ES SN

Attorneys: Company: STEIN SAKS, PLLC PH: (201) 282-6500 x115 Date Filed: 07/
Address: 285 PASSAIC STREET HACKENSACK, NJ 07601 ‘ per2or9

Client's File No.:

 

ERIC STOBEZK]

vs Plaintiff

EQUIFAX INFORMATION SERVICES LLC, ET AL

 

 

 

 

 

 

 

 

 

Defendant
STATE OF _CONNEC TICUT ss, GounTY of __HARTFORD SS.: AFEIDAVIT OF SERVICE
ALAN E. JONES . being duly sworn deposes and says:
Deponent is not a party herein, is over 18 years of age. On JULY 11, 2019 at__ 3:20 PM
at_50 WESTON STREET, HARTFORD, CT.06120 deponent served the within
SUMMONS INA CIVIL CASE , COMPLAINT DEMAND FOR JURY TRIAL
on: FRONTIER COMMUNICATIONS CORPORATION C/O CORPORATION SERVICE , _ DEFENDANT therein named.
COMPANY
#1 INDIVIDUAL By delivering a true copy of each to said recipient personally; deponent knew the person served to be the person
7} described as said person therein.
#2 CORPORATION By detivering thereat a true copy of each to MICHELE TAYLOR and that deponent knew
xX) the person so served to be the AUTHORIZE AGENT of the corporation, and authorized to

to accept service on behalf of the corporation.

#3 SUITABLE By delivering a true copy of each to a person of suitable age and discretion.
AGE PERSON Said premises is recipient's { ]actualplace of business _[ ] dwatling house (usual place of abode) within the state.

 

#4 AFFIXING By affixing a true copy of each to the door of said premises, which is recipient's: { ] actual place of business
TODOOR { J] dwelling house (place of abode) within the state.

Deponent was unable, with due diligence to find recipient or a person of suitable age and discretion, having called

 

 

 

 

 

 

 

thereat onthe __ day of at
on-the day of at
onthe _ day of at
on the day of at
#5MAILCOPY On, deponent completed service under the last two sections by depositing a copy of the
Oj documents listed above to the above address ina 1st Class postpaid properly addressed envelope marked
“Personal and Confidential” in an official depository under the exclusive care and custody of the

 

pores States Post Office in the State of
and by Certified Mail #

 

#6 NON-SRVC After due’search, careful inquiry and diligent attempts, | have been unable to effect process upon the person/entity
C7) being served because of the following: [ ] Unknown at Address { ] Evading [ ] Moved left no forwarding

{ ) Address does not exist { ] Other:

 

#7DESCRIPTION A oe EMALE g the Defendant, or other person served, or spoken lo on behalf of the Defendant is as follows:
Sex: Color of skin: BLACK Color of hair; GRAY Age: 55-65 Height: 5'3-5'6

(wsewih¥8.2003) Weight: 120-140 Other Features: GLASSES
#8 WITEBES Subpoena.Fee Tendered in the amount of

#9 MILITARYSRVC Deponent esked person spoken to whether the recipient was presently in military service of the United States Government or of the State
of _- and was informed that recipient was not. Recipient wore ordinary civilian clothes and no military u

#10 OTHER - a 4
Cj - LIL A

: hE Fo

Sworn to before me on JULY 29, 2019 ma d
. : Please Print Naple Below Signature

ALAN E. JOWES
Chyabith ut os

 

Job # 514485

 

 

 
